       Case 1:21-cv-00077-SAV Document 63    Filed 04/13/23   Page 1 of 32




           UNITED STATES COURT OF INTERNATIONAL TRADE
      BEFORE: THE HONORABLE STEPHEN ALEXANDER VADEN, JUDGE

                                           )
 ELLWOOD CITY FORGE COMPANY,               )
 ELLWOOD NATIONAL STEEL COMPANY,           )
 ELLWOOD QUALITY STEELS COMPANY, and       )
 A. FINKL & SONS,                          )
                                           )
                           Plaintiffs,     )
                v.                         )     Consol. Ct. No. 21-00077
                                           )
 UNITED STATES,                            )
                                           )     NON-CONFIDENTIAL
                           Defendant,      )     VERSION
                 and                       )
                                           )
 BGH EDELSTAHL SIEGEN GMBH,                )
                                           )     Business Proprietary Information
                     Defendant-Intervenor. )     Removed from Brackets on Pages
                                           )     1, 3-7
                                           )

     PLAINTIFFS’ COMMENTS IN OPPOSITION TO THE FINAL RESULTS OF
            REDETERMINATION PURSUANT TO COURT REMAND

                                   Myles S. Getlan
                                   Jack A. Levy
                                   Thomas M. Beline
                                   James E. Ransdell
                                   Nicole Brunda

                                   CASSIDY LEVY KENT (USA) LLP
                                   900 19th Street, N.W.
                                   Suite 400
                                   Washington, D.C. 20006
                                   Phone: (202) 567-2300
                                   Fax: (202) 567-2301
Dated: April 13, 2023
                                   Counsel to Ellwood City Forge Company, Ellwood
                                   National Steel Company, Ellwood Quality Steels
                                   Company, and A. Finkl & Sons
             Case 1:21-cv-00077-SAV Document 63                                  Filed 04/13/23            Page 2 of 32




                                                        Table of Contents
                                                                                                                                    Page

I.          COMMERCE’S REVISIONS TO THE MARGIN PROGRAM IN THE FINAL
            REDETERMINATION CONTAIN A CALCULATION ERROR THAT
            DISTORTS BGH’S DUMPING MARGIN ....................................................................... 2

       A.      Commerce’s Revision to the Margin Program Between the Draft and Final
               Redetermination was Flawed .......................................................................................... 5

II.         COMMERCE UNLAWFULLY REFUSED TO CONSIDER ALTERNATIVE
            STATUTORY PATHWAYS FOR ADJUSTING FOR BGH’S DISTORTED
            PRODUCTION COSTS ..................................................................................................... 7

       A.      Commerce Unlawfully Refused to Consider Plaintiffs’ Statutory Arguments ............... 8

       B.      Plaintiffs’ Statutory Arguments Provide Viable Alternative for Commerce to
               Adjust its Antidumping Calculations to Counteract BGH’s Distorted Costs ............... 10

III.        CONCLUSION ................................................................................................................. 17




                                                                     ii
            Case 1:21-cv-00077-SAV Document 63                                         Filed 04/13/23               Page 3 of 32




                                                          Table of Authorities

                                                                                                                                           Page(s)
Statutes

19 U.S.C. § 1677b(a) .....................................................................................................................16

19 U.S.C. § 1677b(a)(1)(B)(i)..................................................................................................12, 16

19 U.S.C. § 1677b(a)(1)(C)(iii) .........................................................................................12, 15, 16

19 U.S.C. § 1677b(b) .........................................................................................................14, 15, 17

19 U.S.C. § 1677b(e) ............................................................................................................. passim

19 U.S.C. § 1677b(f)(1)(A).................................................................................................... passim

19 U.S.C. § 1677f(i)(3) ....................................................................................................................8

19 U.S.C. § 1677(15)(C) ................................................................................................................14

19 U.S.C. § 1677(15) ............................................................................................................... 15-16

Court Decisions

Abbott Labs. v. Gardner, 387 U.S. 136 (1967)) ............................................................................11

Ad Hoc Shrimp Trade Action Comm. v. United States, 882 F. Supp. 2d 1377
(Ct. Int’l Trade 2013) .....................................................................................................................10

Altx, Inc. v. United States, 370 F.3d 1108 (Fed. Cir. 2004) .............................................................8

Altx, Inc. v. United States, 167 F. Supp. 2d 1353 (Ct. Int’l Trade 2001) .........................................8

Atar, S.r.L. v. United States, 637 F. Supp. 2d 1068 (Ct. Int’l Trade 2009) ............................. 15-16

Bonney Forge Corp. v. United States, 560 F. Supp. 3d 1303 (Ct. Int’l Trade
2022) ................................................................................................................................................8

Camreta v. Greene, 131 S. Ct. 2020 (2011) ..................................................................................11

France v. United States, 981 F.3d 1318 (Fed. Cir. 2020) ..............................................................13

Fuyao Glass Indus. Group Co. v. United States, 30 Ct. Int’l Trade 165
(2006) .............................................................................................................................................10

Husteel Co. v. United States, 98 F. Supp. 3d 1315 (Ct. Int'l Trade 2015) .................................8, 14



                                                                         iii
            Case 1:21-cv-00077-SAV Document 63                                         Filed 04/13/23               Page 4 of 32




Hung Vuong Corp. v. United States, 483 F.Supp.3d 1321 (Ct. Int’l Trade
2020) ................................................................................................................................................8

Hyundai Steel Co. v. United States, 19 F. 4th 1346 (Fed. Cir. 2021) .................................... passim

LG Chem, Ltd. v. United States, Ct. No. 20-00096, Slip Op. 2021-99 (Ct.
Int’l Trade 2021) .................................................................................................................... passim

Local No. 8-6, Oil, Chem. & Atomic Workers Int'l Union v. Missouri, 361
U.S. 363 (1960) ..............................................................................................................................11

Strand v. United States, 951 F.3d 1347, 1349 (Fed. Cir. 2020).......................................................8

Nakornthai Strip Mill Pub. Co. v. United States, 587 F. Supp. 2d 1303 (Ct.
Int’l Trade 2008) ............................................................................................................................10

NEXTEEL Co. v. United States, 28 F.4th 1226 (Fed. Cir. 2022) .....................................................9

NSK Ltd. v. United States, 510 F.3d 1375 (Fed. Cir. 2007) ...........................................................11

Teva Pharm. USA, Inc. v. Novartis Pharm. Corp., 482 F.3d 1330 (Fed. Cir.
2007) ..............................................................................................................................................11

Yangzhou Bestpak Gifts & Crafts Co. v. United States, 716 F.3d 1370 (Fed.
Cir. 2013) .................................................................................................................................12, 16

Administrative Determinations

Certain Frozen Warmwater Shrimp from Thailand, 76 Fed. Reg. 40,881
(July 12, 2011) ...............................................................................................................................17




                                                                         iv
        Case 1:21-cv-00077-SAV Document 63               Filed 04/13/23       Page 5 of 32




         IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
       BEFORE: THE HONORABLE STEPHEN ALEXANDER VADEN, JUDGE

                                             )
 ELLWOOD CITY FORGE COMPANY,                 )
 ELLWOOD NATIONAL STEEL COMPANY,             )
 ELLWOOD QUALITY STEELS COMPANY, and )
 A. FINKL & SONS,                            )
                                             )
                             Plaintiffs,     )
                  v.                         )                   Consol. Ct. No. 21-00077
                                             )
 UNITED STATES,                              )                   NON-CONFIDENTIAL
                                             )                   VERSION
                             Defendant,      )
                   and                       )
                                             )
 BGH EDELSTAHL SIEGEN GMBH,                  )                   Business Proprietary Information
                                             )                   Removed from Brackets on Pages
                       Defendant-Intervenor. )                   1, 3-7
                                             )
                                             )

      PLAINTIFFS’ COMMENTS IN OPPOSITION TO THE FINAL RESULTS OF
             REDETERMINATION PURSUANT TO COURT REMAND

       Ellwood City Forge Company, Ellwood Quality Steels Company, Ellwood National Steel

Company, and A. Finkl & Sons (collectively, “Plaintiffs”), hereby submit comments in

opposition to the final results of redetermination pursuant to court remand published by the U.S.

Department of Commerce (“Commerce”) and filed in this consolidated action on March 14,

2023 (ECF No. 59) (“Final Redetermination”). Plaintiffs’ comments are timely submitted in

accordance with the schedule set forth in the Court’s opinion ordering remand. See USCIT Slip

Op. 22-122 at 48 (ECF No. 55) (“Slip Op. 22-122”).

       These comments raise two issues, both of which individually require further remand in

this action. First, the revised dumping margin calculations in Commerce’s Final

Redetermination contain a significant calculation error that [             ] the dumping margin
        Case 1:21-cv-00077-SAV Document 63               Filed 04/13/23     Page 6 of 32




calculated for BGH Edelstahl Siegen GmBH (“BGH”) (Section I). Second, Commerce

unlawfully declined to even consider alternative statutory justifications for undertaking

calculation adjustments to offset BGH’s distorted costs when calculating the dumping margin for

BGH’s price-to-price sales comparisons (Section II).


I.     COMMERCE’S REVISIONS TO THE MARGIN PROGRAM IN THE FINAL
       REDETERMINATION CONTAIN A CALCULATION ERROR THAT
       DISTORTS BGH’S DUMPING MARGIN

                 Commerce’s antidumping calculation involves the following equation:1


                                      | 𝑉𝐶𝑂𝑀𝐶𝑂𝑃 𝐻   𝑉𝐶𝑂𝑀𝐶𝑂𝑃 𝑈 |
                       𝐶𝑂𝑆𝑇𝐷𝐼𝐹𝐹
                                            𝐴𝑉𝐺_𝑇𝐶𝑂𝑀𝐶𝑂𝑃 𝑈


This variable cost difference (“COSTDIFF”) calculation is a filtering mechanism to determine

whether a given FEB model or product sold in the U.S. market can reasonably be compared with

the closest, non-identical FEB model or product sold in the home market. See Commerce’s

Policy Bulletin Number 92.2, included as Attachment 2. If the difference in the variable costs

of merchandise sold in the home and U.S. markets (i.e., VCOMCOP(H) – VCOMCOP(U), also

known as the difference in merchandise or “DIFMER”) exceeds 20% of the average total cost of

manufacture of the U.S. model (i.e., AVG_TCOMCOP(U)), Commerce will reject the

comparison as unreasonable. Id. Exceeding this 20% threshold is known as “failing” the

“COSTDIFF” test. Stated differently, a large difference in the variable costs to produce the non-

identical U.S. and home market models indicates that those models are too dissimilar to compare


1
 While the implementation of these calculations in Commerce’s margin program are treated as
business proprietary information, the equations themselves are publicly available as part of the
“ME Macros” program available on Commerce’s website. See “Antidumping Margin
Calculation Programs,” access.trade.gov (last updated Dec. 30, 2022), available at
access.trade.gov/resources/sas/programs/amcp.html (Attachment 1).

                                                 2
          Case 1:21-cv-00077-SAV Document 63            Filed 04/13/23       Page 7 of 32




for margin calculation purposes. Pursuant to longstanding Commerce policy, each failure (i.e.,

COSTDIFF exceeding 20%) results in Commerce either utilizing another home market model

that does not exceed the 20% COSTDIFF threshold or resorting to constructed normal value to

calculate the dumping margin associated with the U.S. market sale in question. Id. Commerce’s

Final Redetermination included a distortive modification to the COSTDIFF calculation that

resulted in [                                                   ], which [          ] BGH’s

margin, and requires remand.

         Commerce determined that its application of the COSTDIFF test in its draft remand

results was distorted “because the VCOMCOP for home market sales {i.e., VCOMCOP(H)}

was not increased by the PMS adjustment while the VCOMCOP for U.S. sales {i.e.,

VCOMCOP(U)} was increased,” creating a mismatch through which “the DIFMER {i.e., the

numerator in the COSTDIFF test equation} was erroneously increased, incorrectly causing more

sales to revert to constructed value for the calculation of normal value.” Final Calc Memo at 2

(Appx099243); see also Final Redetermination at 9 (Appx012113).

                       Commerce’s Draft Redetermination COSTDIFF Test2

             [                                                                       ]


However, Commerce’s Final Redetermination margin program—which interested parties had no

opportunity to comment on before it was submitted to this Court—contains a distortion of the



2
    These calculations are implemented in multiple steps in Commerce’s margin program, which [

                                              ]. See Draft Calc Memo at Appx099096 ( [
                                                                                 ] ),
Appx099098 ( [
          ] ), Appx099112 ( [
               ]).

                                                3
          Case 1:21-cv-00077-SAV Document 63               Filed 04/13/23    Page 8 of 32




[                        ]. As shown below, Commerce’s revised COSTDIFF calculation removed

the PMS adjustment from the variable costs of manufacture for U.S. sales (“VCOMCOP(U)”) in

the numerator of the COSTDIFF calculation [



                                              ].

                        Commerce’s Final Redetermination COSTDIFF Test3


               [                                                                     ]



         As detailed below, [                  ] distorts the COSTDIFF test, erroneously [

                           ], which has the effect of [




                                                              ]. Put simply, Commerce’s margin

results are incorrect. As the margin program in Commerce’s Final Redetermination continues to

be erroneous and distortive this Court must remand Commerce’s Final Redetermination for

Commerce to remove the newly introduced distortion from its COSTDIFF calculations.4



3
    See Final Calc Memo at Appx099354 ( [
                                                   ] ), Appx099356 ( [
                                                                  ] ), Appx099370 ( [
                                                                  ]).
4
    To remove the identified distortion, Commerce notably has at least two options. [




                                                                  (footnote continued on next page)
                                                    4
             Case 1:21-cv-00077-SAV Document 63              Filed 04/13/23   Page 9 of 32




        A.       Commerce’s Revision to the Margin Program Between the Draft and Final
                 Redetermination was Flawed

             Commerce erred in applying the COSTDIFF test in its Final Redetermination because

while it revised both variables in the COSTDIFF test numerator (i.e., both VCOMCOP(H) and

VCOMCOP(U)) to remove the PMS adjustment, [

                                                                                  ]. This distorted

COSTDIFF calculation resulted in certain CONNUMs artificially [

                                                                               ] the numerator (in

which the PMS adjustment was removed) and [

                                                  ].

             This can be seen clearly through an analysis of U.S. CONNUM [

                    ], which accounted for approximately [        ] of BGH’s U.S. sales during the

POR. U.S. CONNUM [                                                 ] had a calculated

VCOMCOP(U) of [                  ] and an AVG_TOTCOMCOP(U) of [            ]. The most similar

CONNUM sold in the home market is [                                               ], which had a

calculated VCOMCOP(H) of [                 ].5

         Inaccurate COSTDIFF Test With [                            ] (Final Redetermination)

    [                                                                                              ]


                        Accurate COSTDIFF Test Without [                          ]

             [                                                                              ]




                                                                                  ]
5
 These figures were calculated based on Commerce’s margin programs and the sales and cost
databases submitted by BGH.

                                                       5
        Case 1:21-cv-00077-SAV Document 63              Filed 04/13/23    Page 10 of 32




       As shown in the equations above, the distorted COSTDIFF calculation Commerce

employed in the Final Redetermination yields a COSTDIFF test value of [

                                                                          ]. Without the

erroneously [                       ], Commerce’s COSTDIFF test yields a [            ] value of

[               ]. Commerce’s Policy Bulletin Number 92.2 makes clear that Commerce will

generally not use a failing match—and will instead rely on constructed value—where [

      ] the COSTDIFF test calculations of all possible merchandise matches exceed the 20

percent threshold. However, solely due to Commerce’s erroneously [



                                                                                ]. Had Commerce

correctly [                                                                                ],

Commerce would have calculated a [                                ] dumping margin for BGH.

       Commerce’s calculation error is further confirmed by the fact that its Final

Redetermination dumping margin for BGH defies all logic. Despite continuing to employ an

upwards PMS adjustment to normal values based on constructed value (consistent with Slip Op.

22-122)—Commerce [



                                  ].6 As a matter of mathematics and logic, [

              ]. The PMS adjustment, which increases the costs that make up constructed value, [




6
  Commerce calculated a de minimis margin in its Final Redetermination. See Final
Redetermination at 12 (Appx012116). Employing Commerce’s same margin program but
removing all PMS adjustments (including from constructed value), Ellwood calculates a margin
of [                                                                   ].

                                                 6
       Case 1:21-cv-00077-SAV Document 63                Filed 04/13/23     Page 11 of 32




                                            ]. It follows that a margin calculated with an upward

PMS adjustment to costs can [                        ] a margin without any PMS adjustment

whatsoever. That Commerce’s program from the Final Redetermination [

                                    ] is clear evidence of Commerce’s error and reinforces the

necessity of remand.


II.    COMMERCE UNLAWFULLY REFUSED TO CONSIDER ALTERNATIVE
       STATUTORY PATHWAYS FOR ADJUSTING FOR BGH’S DISTORTED
       PRODUCTION COSTS

       On remand, Commerce stated that it removed the PMS cost adjustment “when applying

the sales-below-cost test,” while continuing to “mak{e} a PMS adjustment for the comparisons

based on constructed value.” Final Redetermination at 4 (Appx012108). Plaintiffs agree that

nothing in the Court’s remand order provided any basis for Commerce to disturb the PMS

adjustment in comparisons wherein normal value was based on constructed value, and

Commerce was correct to maintain that adjustment. See Slip Op. 22-122 at 35-37 (ordering

remand based on Hyundai Steel, which exclusively concerned antidumping calculations wherein

normal value was based on home market prices, known as “price-to-price” comparisons). And

Plaintiffs do not dispute that Hyundai Steel precludes Commerce from relying solely on 19

U.S.C. § 1677b(e) to adjust “sales below cost test” calculations applicable to price-to-price

antidumping comparisons. However, Commerce is far from powerless to address the cost

distortion that, in Commerce’s estimation, continues to affect BGH’s reporting. See Final

Redetermination at 4, 11-12 (Appx012108, Appx012115-012116) (maintaining that BGH’s costs

are distorted). Plaintiffs advocated alternative statutory pathways whereby Commerce could

make corrective adjustments during remand. But Commerce both refused to address Plaintiffs’

arguments and misconstrued the Court’s remand order. Each error independently requires


                                                 7
          Case 1:21-cv-00077-SAV Document 63                Filed 04/13/23     Page 12 of 32




further remand and renders Commerce’s Final Redetermination unlawful and unsupported by

substantial evidence.

     A.      Commerce Unlawfully Refused to Consider Plaintiffs’ Statutory Arguments

          As this Court recently observed in Bonney Forge, Commerce’s determination must be

remanded where, as here, Commerce failed to adequately consider a relevant argument:

          The Federal Circuit has…found that the Court of International Trade properly
          remanded determinations when Commerce ‘fail{ed} to consider all relevant
          arguments’ made by the parties. Altx, Inc. v. United States, 370 F.3d 1108, 1119-
          20 (Fed. Cir. 2004) (discussing how the CIT ‘reasonably was troubled by the
          failure’ of Commerce to address the position of Japanese producers who were a
          party to the case). An agency decision is unsupported by substantial evidence
          when key issues ‘lack{} record support.’ Strand v. United States, 951 F.3d 1347,
          1349 (Fed. Cir.), cert. denied, 141 S. Ct. 894, 208 L. Ed. 2d 452 (2020). A
          decision by Commerce cannot be supported by substantial evidence if there is no
          indication that Commerce considered essential arguments or evidence in making
          its final determination. Indeed, when ‘there is nothing in the administrative record
          showing that Commerce considered (much less addressed)’ a party's explanation
          or argument relating to an issue ‘essential to its analysis . . . the Court cannot
          sustain Commerce’s decision.’ Hung Vuong Corp. v. United States, 483 F. Supp.
          3d 1321, 1367 (CIT 2020).

Bonney Forge Corp. v. United States, 560 F. Supp. 3d 1303, 1310 (Ct. Int’l Trade 2022); see

also, e.g., Husteel Co. v. United States, 98 F. Supp. 3d 1315, 1359 (Ct. Int'l Trade 2015) (“an

agency ‘must address significant arguments and evidence which seriously undermines its

reasoning and conclusions’”) (quoting Altx, Inc. v. United States, 167 F. Supp. 2d 1353, 1374

(Ct. Int’l Trade 2001)); 19 U.S.C. § 1677f(i)(3) (Commerce “shall include in a final

determination…an explanation of the basis for its determination that addresses relevant

arguments…”).

          In remanding Commerce’s original determination, this Court “{i}n compliance with

Hyundai Steel” precluded Commerce from employing “impermissible cost-based particular

market situation adjustments for BGH’s electricity and ferrochrome inputs,” and ultimately

ordered Commerce to “reconsider{} the particular market situation adjustment,” rather than
                                                    8
       Case 1:21-cv-00077-SAV Document 63                Filed 04/13/23      Page 13 of 32




mandating its reversal. Slip Op. 22-122 at 37, 49 (emphasis supplied) (citing Hyundai Steel Co.

v. United States, 19 F. 4th 1346 (Fed. Cir. 2021)); see also Plaintiffs’ Response Brief in

Opposition to BGH’s Rule 56.2 Motion (Dec. 17, 2021) (ECF Doc. 33) at 26 (arguing that an

open-ended remand was legally required). By its plain text, the Court’s order necessarily

declined to rule out alternative bases for adjusting BGH’s distorted costs (whether or not such

distortion were labeled a “PMS”) in ways that were “permissible,” i.e., consistent with Hyundai

Steel. Moreover, insofar as the Court declined to disturb Commerce’s underlying PMS

distortion finding, Slip Op. 22-122 at 37, it was illogical for Commerce to assume the Court

expected Commerce to abdicate its responsibility to administer the antidumping laws and do no

more than calculate a price-to-price margin using distorted cost data. Indeed, as the Federal

Circuit recently reaffirmed in NEXTEEL, the CIT could not have preemptively forbidden

Commerce from accounting for BGH’s distorted costs with respect to price-to-price comparisons

in some way, insofar as the consideration of statutory alternatives left open by Hyundai Steel is

in no way a “futile” undertaking. See NEXTEEL Co. v. United States, 28 F. 4th 1226, 1238

(Fed. Cir. 2022).

       Yet, that is precisely what Commerce refused to do. Despite Plaintiffs having advanced

numerous permissible alternatives for adjusting Commerce’s antidumping margin calculations to

account for BGH’s distorted costs in both Plaintiffs’ original response briefs, see Plaintiffs’

Response Brief in Opposition to BGH’s Rule 56.2 Motion (Dec. 17, 2021) (ECF Doc. 33) at 25-

28, and in comments on Commerce’s remand results, see Plaintiffs Comments on Draft Remand

Results at 3-9 (Appx012068-012074), Commerce declined to consider these arguments during

remand proceedings. Rather, the entirety of Commerce’s analysis on this issue was to




                                                 9
          Case 1:21-cv-00077-SAV Document 63             Filed 04/13/23     Page 14 of 32




“determine that it is not appropriate to address those arguments in the context of these final

results of redetermination.” Final Redetermination at 6 (Appx012110).

          Commerce misconstrued the plain text of the Court’s remand order, and incorrectly

asserted, without elaboration, that its refusal to consider Plaintiffs’ arguments was somehow “in

line with…the Court’s Remand Order.” Final Redetermination at 6 (Appx012110).7 Contrary

to Commerce’s self-serving assertion, ignoring Plaintiffs’ arguments was not required—or even

countenanced—by the Court’s remand order. Indeed, Commerce’s evident misunderstanding of

the Court’s remand order constitutes an independent basis for remanding this issue, see, e.g.,

Nakornthai Strip Mill Pub. Co. v. United States, 587 F. Supp. 2d 1303, 1310 (Ct. Int’l Trade

2008) (“when an agency does not comply with the court’s remand instructions, its remand

results will not be sustained.”) (citing Fuyao Glass Indus. Group Co. v. United States, 30 C.I.T.

165 (2006)), in addition to Commerce’s simple failure to address Plaintiffs’ arguments. The

Final Redetermination must be returned to Commerce so that it may consider Plaintiffs’

arguments in the first instance.

     B.     Plaintiffs’ Statutory Arguments Provide Viable Alternative for Commerce to
            Adjust its Antidumping Calculations to Counteract BGH’s Distorted Costs

          If adopted, Plaintiffs’ alternative statutory approaches would change how Commerce

adjusted for BGH’s distorted costs and would necessarily affect Commerce’s margin calculation.


7
  Commerce likewise references its own voluntary remand request as support for its approach,
see Final Redetermination at 6 (Appx012110), but Commerce’s reliance is misplaced. The
Court’s remand order fixes the scope of remand proceedings, not Commerce’s prior preference
with respect to the scope. C.f., e.g., Ad Hoc Shrimp Trade Action Comm. v. United States, 882 F.
Supp. 2d 1377, 1379 (Ct. Int’l Trade 2013) (addressing agency’s motion to expand scope of
remand proceedings). Moreover, Commerce’s request for voluntary remand was itself based
solely on the Federal Circuit’s Hyundai Steel opinion and did not purport to foreclose the
possibility of an alternative adjustment to account for BGH’s distorted costs (whether or not
labeled a “PMS” adjustment). See Defendant’s Response Brief in Opposition to Rule 56.2
Motions (Dec. 17, 2021) (ECF Doc. 37) at 29.

                                                10
        Case 1:21-cv-00077-SAV Document 63                Filed 04/13/23     Page 15 of 32




Thus, each of Plaintiffs’ as yet unaddressed arguments is inherently “significant.” While this

Court cannot issue “advisory opinions” on abstract questions of law, see, e.g., Camreta v.

Greene, 131 S. Ct. 2020, 2038 (2011) (“judicial Power is one to render dispositive judgments,

not advisory opinions”); Teva Pharm. USA, Inc. v. Novartis Pharm. Corp., 482 F.3d 1330, 1337-

38 (Fed. Cir. 2007) (“federal courts are to decide only ‘actual controversies by judgment which

can be carried into effect, and not to give opinions upon moot questions or abstract propositions,

or to declare principles or rules of law which cannot affect the matter in the case before it.’”)

(quoting Local No. 8-6, Oil, Chem. & Atomic Workers Int'l Union v. Missouri, 361 U.S. 363,

367 (1960)), and Commerce must first espouse a position before an issue ripens for adjudication,

see, e.g., NSK Ltd. v. United States, 510 F.3d 1375, 1384 (Fed. Cir. 2007) (“Generally, an

agency decision is not ripe for judicial review until the allegedly offending agency has adopted a

final decision.”) (citing Abbott Labs. v. Gardner, 387 U.S. 136, 149 (1967)), Plaintiffs herein

summarize their arguments in order to establish their potential to impact Commerce’s

antidumping margin calculations.

          1.   Hyundai Steel Did Not Preclude Commerce from Adjusting for Cost
               Distortions, Whether or Not Such Distortions Have Been Labeled a “PMS”

       Commerce reasoned that pursuant to Hyundai Steel “the statute only permits the

adjustment of cost of production for a PMS when making comparisons based on constructed

value, not for purposes of the sales-below-cost test.” Final Redetermination at 4 (Appx012108).

But Commerce overread Hyundai Steel, which addressed a narrow statutory question, viz.,

whether Commerce was authorized by 19 U.S.C. § 1677b(e) to adjust its “sales below cost” test

calculations under 19 U.S.C. § 1677b(b) to account for a PMS. See Hyundai Steel, 19 F. 4th at

1352-55. The Federal Circuit concluded that Commerce was not so authorized. See id.

Nevertheless, Commerce is by no means precluded from adjusting its dumping calculations to


                                                 11
       Case 1:21-cv-00077-SAV Document 63                Filed 04/13/23      Page 16 of 32




account for distortions in BGH’s production costs—whether or not such distortions are labeled a

“PMS”—merely because the dumping calculations involve a “price-to-price” comparison.

       Indeed, Hyundai Steel expressly recognized such a result would be “perverse,” and

furthermore (1) concluded that “Commerce is {not} powerless to address home market sales that

are affected by a PMS yet still pass the sales-below-cost test,” and (2) declined to reject

alternative statutory pathways, such as 19 U.S.C. § 1677b(f)(1)(A) and 19 U.S.C. §

1677b(a)(1)(C)(iii), under which Commerce might just as effectively address cost-based PMS

distortion in a price-to-price antidumping comparison. Id. at 1355-56. Commerce is obliged to

calculate the most accurate dumping margin feasible, see, e.g., Yangzhou Bestpak Gifts & Crafts

Co. v. United States, 716 F.3d 1370, 1379 (Fed. Cir. 2013) (“An overriding purpose of

Commerce’s administration of antidumping laws is to calculate dumping margins as accurately

as possible.”); LG Chem, Ltd. v. United States, Ct. No. 20-00096, Slip Op. 2021-99 (Ct. Int’l

Trade 2021) at 19-20, and is precluded by 19 U.S.C. § 1677b(a)(1)(B)(i) from using home

market sales prices outside the ordinary course of trade in the antidumping calculation.

Consistent with these mandates and Commerce’s statutory authority, detailed below, Commerce

was obligated to fully consider whether to apply the alternative statutory pathways available to

account for cost-based PMS distortion in determining the dumping margin for all of BGH’s U.S.

sales, including “price-to-price” comparisons.

          2.   Commerce Could Have Adjusted the Margin Program to Test whether BGH’s
               Distorted Costs “Reasonably Reflect” True Production Costs, Pursuant to 19
               U.S.C. § 1677b(f)(1)(A)

       Although Commerce is unable to rely upon 19 U.S.C. § 1677b(e)’s “any other calculation

methodology” language to directly adjust the sales below cost test, Commerce could instead

adjust BGH’s costs pursuant to the authority conferred by 19 U.S.C. § 1677b(f)(1)(A). The

Federal Circuit expressly declined to rule out Commerce’s authority to undertake a de facto cost-
                                                 12
       Case 1:21-cv-00077-SAV Document 63                 Filed 04/13/23     Page 17 of 32




based PMS adjustment pursuant to 19 U.S.C. § 1677b(f)(1)(A), which states that “{f}or purposes

of subsection{} (b)” (i.e., the sales below cost test), costs shall be based on the respondent’s

books and records if and only if those records are both: (a) kept in accordance with the exporting

country’s generally accepted accounting principles and (b) reasonably reflect the costs associated

with the production and sale of the merchandise. See Hyundai Steel, 19 F. 4th at 1355-56

(finding appellant had failed to argue the issue before the CIT); 19 U.S.C. § 1677b(f)(1)(A); see

also LG Chem, Ltd. v. United States, Ct. No. 20-00096, Slip Op. 2021-99 (Ct. Int’l Trade 2021)

at 17-18 (citing France v. United States, 981 F.3d 1318, 1321-22 (Fed. Cir. 2020)) (noting that

19 U.S.C. § 1677b(f)(1)(A) “unambiguously imposes two binary yes/no conditions,” both of

which must be met before Commerce is required to rely on a respondent’s books and records).

As the CIT has recently affirmed, “{o}nce Commerce concludes that a producer’s records do not

satisfy one of these conditions…the statute relieves {Commerce} of any further obligation to use

those records in adjusting costs.” LG Chem, Slip Op. 2021-99 at 18. Instead, in such

circumstances, “Congress desired Commerce to adjust the respondent’s costs as necessary (in the

Department’s discretion) to ensure the most accurate dumping margin.” Id. at 19-20.

       Here, having determined that BGH’s input costs for electricity and ferrochrome are

distorted, Commerce may conclude that BGH’s books and records—which are based on those

distorted input costs—cannot “reasonably reflect” the costs of producing subject merchandise,

i.e., that the preconditions set forth in 19 U.S.C. § 1677b(f)(1)(A) are not met. That Commerce

at some point analyzed these same cost distortions under 19 U.S.C. § 1677b(e) and labeled them

a “PMS” cannot divest Commerce of its independent authority under 19 U.S.C. § 1677b(f)(1)(A)




                                                 13
       Case 1:21-cv-00077-SAV Document 63                Filed 04/13/23     Page 18 of 32




to eliminate said distortion.8 Indeed, based on the statute’s plain language and statutory

definitions, it would be absurd for input prices distorted by a PMS to be both “outside the

ordinary course of trade,” see 19 U.S.C. § 1677(15)(C) and 19 U.S.C. § 1677b(e), while still

“reasonably reflect{ing}” the costs associated with producing subject merchandise, see 19

U.S.C. § 1677b(f)(1)(A). Notably, the statutory terminology of 19 U.S.C. § 1677b(f)(1)(A), i.e.,

whether respondent’s reported costs “reasonably reflect” production costs, closely resembles the

Federal Circuit’s summation of the finding that underlies a cost-based PMS, i.e., “that the

exporter’s actual costs do not accurately reflect the costs of production.” See Hyundai Steel, 19

F.4th at 1355 n.10. Under these circumstances, Commerce has no statutory obligation to rely on

the costs reported in BGH’s books and records in performing the sales below cost test. See LG

Chem, Slip Op. 2021-99 at 18.

       Commerce does, however, have wide discretion to refashion its sales below cost test

calculations in response to BGH’s failure to satisfy the preconditions of 19 U.S.C. §



8
  This Court’s opinion in Husteel observes that 19 U.S.C. § 1677b(f)(1)(A) was not amended to
encompass PMS adjustments. See Husteel Co. v. United States, 426 F. Supp. 3d 1376, 1383 (Ct.
Int'l Trade 2020) (“Undeniably Congress did not amend either section 1677b(b)(1) (below costs
sales) or section 1677b(f) (calculation of a cost of production) to allow for a PMS adjustment.”).
Notably, the Federal Circuit declined to reach or embrace this view in Hyundai Steel. See 19 F.
4th at 1355-56. And in any event, Plaintiffs’ argument remains sound, as Husteel was limited to
the question of whether Section 1677b(f)(1)(A) authorized a “PMS” adjustment. See 426 F.
Supp. 3d at 1383. Husteel did not consider the broader question of whether Commerce could
rely upon Section 1677b(f)(1)(A) to address distortion in a respondent’s reported costs. Plainly,
Commerce can do so. See, e.g., Thai Plastic Bags Indus. Co. v. United States, 746 F.3d 1358,
1362, 1365 (Fed. Cir. 2014) (affirming Commerce’s decision not to rely upon a respondent’s
records that did not meet both prerequisites of Section 1677b(f)(1)(A) and instead adjust the
respondent’s reported costs). It would be wholly arbitrary to preclude Commerce from
determining that a cost distortion prevented the respondent’s costs from “reasonably reflecting”
production costs within the meaning of Section 1677b(f)(1)(A), merely because that distortion
had at some point been analyzed under Section 1677b(e) or labeled a “PMS.” Practical
realities—i.e., the existence or absence of distortion—rather than semantics, should guide
Commerce’s understanding of the antidumping statute.

                                                14
        Case 1:21-cv-00077-SAV Document 63                Filed 04/13/23      Page 19 of 32




1677b(f)(1)(A). See, e.g., LG Chem, Slip Op. 2021-99 at 19-20; Thai Plastic Bags, 746 F.3d at

1362, 1367-68 (affirming “Commerce{’s} exercise {of} its authority to make adjustments to the

distortive costs TPBI reported” under Section 1677b(f)(1)(A)). As one option, the Coalition

proposed during remand proceedings that Commerce include a PMS adjustment, essentially

reforming BGH’s reported costs to account for PMS distortion and thereby “reasonably reflect”

BGH’s production costs. Such an approach is not only lawful, but imperative from a practical

standpoint—when a respondent’s reported production costs are distorted by a PMS, the sales

below cost test (absent adjustment) is necessarily distorted because it compares sales prices to

costs that are distorted by a PMS. Consequently, normal value may include home market prices

that only pass the sales below cost test due to the use of distortedly low production costs. To

avoid those perverse results and “ensure the most accurate dumping margin” possible, see LG

Chem, Slip Op. 2021-99 at 19-20, the Coalition argued that Commerce should make use of its

authority under 19 U.S.C. § 1677b(f)(1)(A) to adjust BGH’s reported costs to account for the

PMS when performing the sales below cost test. Commerce, however, declined to address this

significant argument.

          3.   Because this Cost-Based PMS Prevents a “Proper Comparison” with U.S.
               Price, Commerce Could Have Used Constructed Normal Value for All Sales

       Hyundai Steel noted that Commerce was not constrained to rely on the flawed results of

an unadjusted sales below cost test, and could reject distorted sales prices that “still pass the

sales-below-cost test” set forth in 19 U.S.C. § 1677b(b) by finding a sales-based PMS, e.g.,

under 19 U.S.C. § 1677b(a)(1)(C)(iii).9 See Hyundai Steel, 19 F. 4th at 1355. Here, the PMS’s



9
 This Court has long held that no party is obligated to file a formal PMS allegation in order for
Commerce to find a sales-based PMS. See Atar, S.r.L. v. United States, 637 F. Supp. 2d 1068,
1080 (Ct. Int’l Trade 2009) (“neither the statute nor the regulations prohibit Commerce from
                                                                  (footnote continued on next page)
                                                  15
       Case 1:21-cv-00077-SAV Document 63                Filed 04/13/23     Page 20 of 32




effect upon normal value and U.S. price comparability are relevant, but the statutory question is

not merely whether the two could somehow theoretically be compared, but whether such

comparison would be a “proper” comparison. See 19 U.S.C. § 1677b(a)(1)(C)(iii). Where a

respondent’s production costs are distorted by a PMS, a price-to-price comparison would not be

“proper.”

       As an initial matter, Commerce would be incorrect to assume that cost distortion is

reflected equally in both home and U.S. market sales prices charged for various different models

for FEBs. As a rational economic actor, BGH is assumed to spread its cost savings strategically

in the FEB models and markets where BGH stands to benefit the most in terms of gaining market

share and customers. Regardless of which FEB model(s) and market(s) that may be at any given

time, the result is an imbalanced price-to-price comparison that is necessarily improper.

       Moreover, even if one were to assume, arguendo, that cost distortion equally impacts all

home market and U.S. sales prices, such an equality of distortion still means normal value is

distorted. There is nothing “proper” about comparing U.S. prices to distorted home market

prices—i.e., such comparison does not accurately indicate the extent to which dumping has

occurred. The normal value statute’s overarching objective is a “fair comparison” limited to

home market prices “in the ordinary course of trade.” 19 U.S.C. §§ 1677b(a), (a)(1)(B)(i); see

also Yangzhou Bestpak, 716 F.3d at 1379 (“An overriding purpose of Commerce’s

administration of antidumping laws is to calculate dumping margins as accurately as possible.”).

Home market prices that are derived from distorted costs of production due to a PMS cannot be

considered “normal” and have no place in the antidumping calculation. See 19 U.S.C. §




determining, even absent an allegation, that a third-country market is affected by a particular
market situation.”).

                                                16
       Case 1:21-cv-00077-SAV Document 63               Filed 04/13/23     Page 21 of 32




1677(15) (defining the ordinary course of trade as “normal” conditions and practices). Put

differently, Congress did not create a loophole permitting dumping in the United States as long

as the foreign producer benefits from, e.g., non-market inputs or government-set input prices,

that allow them to cut prices in their home market as well.

       To avoid this “perverse” outcome––apart from performing the unmodified sales-below-

cost test as set forth in 19 U.S.C. § 1677b(b)––Commerce can separately perform an adjusted test

to identify any home market sales prices falling below production costs that have been adjusted

to counteract the cost-based PMS. As the price-depressing distortion inherent in such sales

prevents a “proper” comparison with U.S. price, such sales are affected by a sales-based PMS, in

addition to the underlying cost-based PMS. Indeed, despite its refusal to address these

arguments during remand, Commerce itself has previously embraced this interpretation of the

sales-based PMS provision. Certain Frozen Warmwater Shrimp from Thailand, 76 Fed. Reg.

40,881 (July 12, 2011) (“Shrimp from Thailand”), IDM at Comment 3 (“neither the statute nor

the SAA precludes the Department from entertaining PMS allegations related to the pricing of

inputs and the effects this may have on the pricing of the foreign product…”). For such sales

observations, Commerce would base normal value on constructed value as set forth in 19 U.S.C.

§ 1677b(e), including a PMS adjustment.


III.    CONCLUSION

       For the reasons stated above, Plaintiffs respectfully request that this Court again remand

Commerce’s Final Redetermination to permit Commerce to correct the calculation error in its

margin program and to consider Plaintiffs’ arguments with respect to further adjusting

Commerce’s antidumping calculations to account for cost distortion in “price-to-price”

comparisons.


                                                17
       Case 1:21-cv-00077-SAV Document 63    Filed 04/13/23    Page 22 of 32




                                  Respectfully submitted,

                                  /s/ Myles S. Getlan

                                   Myles S. Getlan
                                   Jack A. Levy
                                   Thomas M. Beline
                                   James E. Ransdell
                                   Nicole Brunda

                                   CASSIDY LEVY KENT (USA) LLP
                                   900 19th Street NW, Suite 400
                                   Washington, DC 20006
                                   T: (202) 567-2313
                                   F: (202) 567-2301
Dated: April 13, 2023              Email: mgetlan@cassidylevy.com

                                   Counsel to Ellwood City Forge Co.,
                                   Ellwood National Steel Co., Ellwood
                                   Quality Steels Co., and A. Finkl & Sons




                                     18
Case 1:21-cv-00077-SAV Document 63       Filed 04/13/23   Page 23 of 32




                        Table of Attachments

   Attachment No.                       Document
                    U.S. Department of Commerce Antidumping Program
         1
                                         Webpage
         2           U.S. Department of Commerce Policy Bulletin 92.2




                                  19
         Case 1:21-cv-00077-SAV Document 63               Filed 04/13/23     Page 24 of 32




                 Certificate of Compliance with Chambers Procedures 2(B)(1)

         The undersigned hereby certifies that the foregoing brief contains 5,115 words, exclusive

of the caption blocks, table of contents, table of authorities, table of attachments, signature block,

certificates of counsel, and attachments, and therefore complies with the maximum 10,000 word

count limitation set forth in the Standard Chambers Procedures of the U.S. Court of International

Trade.



                                               By:    /s/ Myles S. Getlan
                                                        Myles S. Getlan
Case 1:21-cv-00077-SAV Document 63   Filed 04/13/23   Page 25 of 32




           Attachment 1
  01123245ÿ78928ÿ1ÿCase
                   8ÿ81:21-cv-00077-SAV
                           4245ÿ48ÿ2242ÿDocument
                                                  ÿÿÿÿ63ÿ!
                                                                      Filed 04/13/23   Page 26 of 32




   MaT




23021ÿ?412ÿI4533542ÿ\14
                                              ÿ                                   ÿ         "#$ÿ%&#$'ÿ()*+ÿ,-.ÿ/-//
  0ÿ 2ÿ0418ÿ23ÿ4255ÿ12ÿ 8ÿ18823ÿ423021ÿ567ÿ412ÿ34533542ÿ014 8ÿ 88ÿ014 ÿ48ÿ 8ÿ421ÿ0 2
    1ÿ3ÿ6ÿ345335428ÿ9 ÿ4ÿ0423354ÿ3042ÿ2ÿ4ÿ038821:ÿ4ÿ348ÿ4452 ÿ4255ÿ 212ÿ 8ÿ9 2580548ÿ38ÿ4ÿ8;328
  1ÿ 82ÿ3488
   88ÿ48ÿ4 ÿ208ÿ1ÿ6ÿ34533542ÿ<ÿ4=8>83 2ÿ5?@7ÿ4ÿ 4=8>83 2ÿ5A?@78ÿ 8ÿ6ÿ014
  5235321ÿ4ÿ3 ÿ43ÿ0147ÿ8;328ÿ1ÿ843ÿ48ÿ13ÿ98548ÿÿ9 ÿ208:ÿ48ÿ3048ÿ0238ÿ2ÿ 8ÿB28
  C48ÿ ÿ 8ÿ223ÿ44ÿ34558:ÿA 45ÿD4538ÿ5AD78
  E**!ÿF#)ÿGH#*
   8ÿ8;328ÿI  ÿ?43 ÿ014ÿ44ÿ8 4952 8ÿ ÿ433 48ÿ3 ÿ8  512345ÿ38ÿ4ÿ18823ÿ32522
  1332ÿ4ÿ 4ÿ9 ÿ?@ÿ4ÿA?@ÿ014 ÿ3252J8ÿ2ÿ 82ÿ8K83328
  L8ÿE**!ÿF#)ÿM&NOO%N)%H#*P)**!Q*#)Q#R$S$Tÿ5LUVUWVUXUU7
  F#$QY)!*ÿGH#*
  ÿ?@ÿ34533542:ÿ48ÿ948ÿADÿÿ 8ÿ3042Zÿ43345ÿ3 ÿ4ÿ0238ÿ2ÿ 8ÿ3042 ÿ4=88ÿ1ÿ ÿ324958
  3042 ÿ4=8ÿ2ÿ13:ÿ48ÿ948ÿADÿÿI  338ÿD4538ÿ5ID7ÿ4 23ÿ2ÿ4ÿ3 >948ÿ932530ÿ1ÿ4ÿ3148ÿ02388
  [88ÿ48ÿ 8ÿ 88ÿ014 ÿ38ÿ2ÿ?@ÿ34533542ÿ5451ÿ42ÿ 8ÿI  ÿ?43 ÿ\147]
  L8ÿFYÿE*%#N!ÿF#$ÿM&NOO%N)%H#*P*Q)*%#N!Q*#$Q#R$S$Tÿ5LUVUWVUXUU7
  U8ÿFYÿF#HN!ÿE#")"#$N!ÿM&NOO%N)%H#*P*Q*#HN!Q)#")"#$N!Q#R$S$Tÿ5LUVUWVUXUU7
  ^8ÿFYÿF#)ÿM&NOO%N)%H#*P*Q*#)Q#R$S$Tÿ5LUVUWVUXUU7
  7 8ÿ4ÿ3042 ÿ4=8ÿ2ÿ 8ÿ942ÿ1ÿAD:ÿ 8ÿ12 ÿ014ÿ38ÿ2ÿ 8ÿ?@ÿI 042 ÿ?4=8ÿ5I?7ÿ0148ÿ 8ÿI?
  014ÿ2ÿ4 88ÿ 8ÿ348ÿ4452 ÿ88ÿ2142ÿ49 3ÿ 8ÿ3042Zÿ3 ÿ4ÿ458ÿ2ÿ 8ÿ3042 ÿ4=88ÿ 8
  ?@ÿ?43 ÿ014ÿ2ÿ4 88ÿ 8ÿ935=ÿ1ÿ 8ÿ38ÿ2ÿ 88ÿ7 8ÿ 8ÿI?ÿ014ÿ2ÿ8K8338:ÿ2ÿ3455ÿ30ÿ 8ÿ858_4
  0 2ÿ1ÿ38ÿ1ÿ 8ÿ?@ÿ?43 ÿ014ÿ ÿ038 ÿ 8ÿI?ÿ4588ÿ18ÿ 8ÿI?ÿ\14ÿ2ÿ3:ÿ 8ÿ?@ÿ?412
  I4533542ÿ014ÿ2ÿ30588ÿ92ÿ 8ÿ4452 8ÿ7 8ÿ8K8338:ÿ 8ÿ?@ÿ?412ÿI4533542ÿ014ÿ3455ÿ2ÿ858_4
  0 2ÿ1ÿ 8ÿ?@ÿ?43 ÿ\14ÿ ÿ038 ÿB8C8ÿ458ÿ4ÿ 8ÿ3048ÿ 8ÿ ÿI?ÿ458ÿÿIDÿ ÿ34533548ÿ 8ÿ6
  32ÿ488ÿ7 8ÿ 88ÿ2ÿ ÿ3042 ÿ4=8:ÿ52ÿ 8ÿ?@ÿ?412ÿI4533542ÿ014ÿ4ÿ?@ÿ?43 ÿ014ÿ48
  8;328ÿ1ÿ 8ÿ1ÿB8C8ÿ0238ÿ421 ÿ ÿID8
  `!*#$QY)!*ÿGH#*
  ÿ 4=8>83 2ÿ6ÿ34533542:ÿADÿ2ÿ3028ÿ1ÿ 8ÿ3042Zÿ143 ÿ1ÿ0332ÿ52888:ÿ83208ÿ1
  43143321ÿ 8ÿ1 ÿ2ÿ;38 27ÿ_4538ÿ2ÿ 8ÿ4000248ÿ3148ÿ3328
  [88ÿ2ÿ 8ÿA?@ÿ014ÿ38ÿ2ÿA?@ÿ34533542ÿ5451ÿ42ÿ 8ÿI  ÿ?43 ÿ\147]
  L8ÿ̀FYÿF#HN!ÿE#")"#$N!ÿM&NOO%N)%H#*P!*Q*#HN!Q)#")"#$N!Q#R$S$Tÿ5LUVUWVUXUU7
  ÿ455ÿA?@ÿ34533542:ÿ 8ÿ4452 ÿ1255ÿ2ÿ 8ÿ8;328ÿ348>0832123ÿ21428
                 Case 1:21-cv-00077-SAV Document 63                Filed 04/13/23     Page 27 of 32
                       012342ÿ3667244ÿ829 931ÿ248 4ÿ38ÿ82ÿ2 279ÿÿ37 ÿ9319138 ÿ7734
                                  8ÿ82ÿÿÿ!ÿ"#$%ÿ&%$'(!)*!$+#,-./




                0ÿ1,,ÿ23'4#33#3
                 5!ÿ(!'43ÿ&6!!3)77888,!$+#,-.7#3#$96/
                 :#3#$96ÿ#4!#ÿ&6!!3)77888,!$+#,-.7#3#$96/
                 :#-($!'43ÿÿ-##%#4!3ÿ&6!!3)77888,!$+#,-.7#-($!'43/
                 :#3(.#ÿ$ÿ"$+#ÿ;<(#%ÿ&6!!3)77888,!$+#,-.7#3(.#=!$+#=<(#%/
                 !!#4+ÿ$4ÿ.#4!ÿ&6!!3)77888,!$+#,-.7$!!#4+=#.#4!/
                 >#83ÿÿ?'-6('-6!3ÿ&6!!3)77888,!$+#,-.74#83=$4+=6'-6('-6!3/
                 @#!ÿAÿ5#!3ÿ?#(ÿ&6!!3)77888,!$+#,-.7(#!==#5#!3=6#(=B/



0ÿC4!#4$!'4$(ÿ23'4#33#3
2Dÿ0%ÿ!6#ÿ1ÿ&6!!3)77888,<D3$,-.7/
C4.#3!ÿ'4ÿ!6#ÿ1ÿ&6!!3)77888,3#(#9!3$,-.78#(9%#/




                               C4!#4$!'4$(ÿ"$+#ÿ+%'4'3!$!'4
                               1,,ÿE#$!%#4!ÿFÿ%%#9#
                               GHIGÿJ 4888 ÿK2ÿLM
                               M34 8 NÿJÿOIOPI
                               44#9!ÿQ'!6ÿC"
Case 1:21-cv-00077-SAV Document 63                   Filed 04/13/23   Page 28 of 32
     012234012
            566278
                342526967776
                           012
                            234
                                 99
                                    566777
                                       62
                                              9
                                               9 6
                                                    9 




       2928 9"88422801223456677729# 6$%& '93292 ( 9 9
 012234566777 9 9# 6)*+,+-./0.-123+1/4+5.0//2642705+88../29:0,;24*+/02,2,
642*2/0,-/4+5+,50,7./*,/$./4,-/,0,-/82*6/0/07,..2;<=>=0,5?./4@$+,5,.?40,-;+04
/4+5+,582*610+,8A0//4+51+A.+,5+-4*,/.=BC/4,+110,D./22/49,/4,/.0/..2?15,2/
 382,./4?5+.+,,524.*,/2;/70A.246407+8@621080.82,/+0,5/40,=0..0/82,/+0,.
     EFG528?*,/.=:H'I 99 012234566#92 9 6990.+7+01+31;42*:523>@./*.
                                       9,824624+/5=
           %&"# 012235667774# JIK"01223456677729# 68JH8 H #
                       0122345669# 29# 638 L3 # 43JMMKH 8
            0122345669# 29# 616 924699 N3 8N4229923J'84 89
            01223456677729# 69 4992L84 89J 28O8289894
                                   0122345669# 29# 6"8P43
Case 1:21-cv-00077-SAV Document 63   Filed 04/13/23   Page 29 of 32




           Attachment 2
3/15/23, 2:51 PM       Case 1:21-cv-00077-SAV Document        63 Filed 04/13/23 Page 30 of 32
                                                https://enforcement.trade.gov/policy/bull92-2.txt


                        IMPORT ADMINISTRATION POLICY BULLETIN

  Number 92.2

  Date of Issue: July 29, 1992

  Topic:      Differences in Merchandise; 20% Rule


  Approved:        (signed)
                Alan M. Dunn
                Assistant Secretary for
                  Import Administration


  Statement of Issue

  When to make and how to quantify adjustments for differences in
  merchandise; 20% limit on adjustment.

  Analysis

  The statute (Section 772 (a) (4)) provides allowance may be made when
  the product on which foreign market value (FMV) is based is not
  identical to that exported to the United States. The regulations
  (Section 353.57) provide that the allowance will normally be based on
  differences in cost of production, but may be based in differences
  in market value.

  In practice, and for the reasons cited in the 1985 Study of Antidumping
  Adjustments Methodology, we have rarely been able to determine the
  direct price effect of a difference in merchandise (Diffmer). Therefore,
  diffmer adjustments are based almost exclusively on the cost of the
  physical difference. We do not make an adjustment because the cost of
  production is different; we are measuring the difference in cost
  attributable to the difference in physical characteristics. Note that
  the regulations specify that no consideration will be given to cost of
  production differences when the compared merchandise has identical
  physical characteristics. Therefore, it is important in any consideration
  of a diffmer to isolate the costs attributable to the difference, not just
  assume that all cost of production differences are caused by the physical
  differences. When it is impossible to isolate the cost differences, we
  should at least determine that conditions unrelated to the physical
  difference are not the source of the cost differences, such as when
  different facilities are used, or the cost differences are high but the
  actual physical differences appear small. If the costs of the physical
  difference cannot be isolated or it is not reasonably clear that the
  differences in production cost are related to the physical difference,
  no adjustment should be made. It is recognized that no fixed rule can
  be made here; much depends on the types of product and the physical
  differences in the merchandise in each case. Yet, there should always
  be a recognition that it is the physical differences for which the
  adjustment is made, that we know precisely what those differences are,
  and that the cost differences which form the adjustment are related to
  those physical differences and not extraneous factors.

  In making a cost-based diffmer allowance the Department uses only
  variable and semi-variable manufacturing expenses in quantifying the
  cost differences. Fixed manufacturing costs such as space heating,
  lights, and depreciation of plant and equipment are not part of the
  adjustment, nor are general, selling, and administrative expenses,
  or profits. We do not adjust for profit; to do so would be making
  the adjustment on the basis of value differences (though constructed,
  rather than observed), since the selling price is a factor in
https://enforcement.trade.gov/policy/bull92-2.txt                                                   1/3
3/15/23, 2:51 PM       Case 1:21-cv-00077-SAV Document        63 Filed 04/13/23 Page 31 of 32
                                                https://enforcement.trade.gov/policy/bull92-2.txt

  determining profits. Non-variable expenses are normally incurred
  regardless of whether the difference exists or not. For example,
  if a switch is added to a widget sold in the home market, but the
  exported item is without the switch, only the cost of the switch,
  the labor to install the switch, supervisory labor, and the power to
  run the machinery would be allowed, since these are the only additional
  expenses that are incurred because the difference existed. We are
  assuming that the overhead expenses of the producer remain unchanged
  and that the producer will only pass on the customer, thus directly
  affecting the price, those expenses additional to the expenses he
  would have incurred if the switch had not been installed. This is
  similar in a way to the economic convention that taxes on the producer
  are absorbed and taxes on the product are passed to the purchaser.

  Since, as in the case of taxes, we know that the convention is probably
  not always strictly true, but cannot determine just what portion of
  fixed costs might be passed on, the need to limit the adjustment is
  necessary. Otherwise, as the physical differences become larger and
  larger, the full, but indeterminable affect on commercial value of
  whatever share of factory overheads, GS&A expenses, or profits might
  be passed on grows. To limit the potential differences in commercial
  value caused by physical differences, we employ the 20% guideline.
  If the commercial value of two products is greatly different, then a
  comparison is not reasonable; the difmer adjustment, being limited to
  variable manufacturing costs probably cannot fully compensate. While
  we know we cannot accurately measure the impact of all costs on
  commercial value, we expect that there is some impact. When the
  variable cost difference exceeds 20%, we consider that the probable
  differences in values of the items to be compared is so large that
  they cannot reasonably be compared. Since the merchandise is not
  identical, does not have approximately equal commercial value, and
  has such large differences in commercial value that it cannot
  reasonably be compared, the merchandise cannot be considered similar
  under Section 771 (16) (A), (B),or (C) of the statute.

  Although the 20% guideline has been used for a number of years, there
  have been some difference in practice in the calculation formula. While
  the numerator has always been the difference in variable production cost,
  different denominators have been used. They have sometimes been price,
  other times total manufacturing cost, and yet other times the total
  variable manufacturing costs. While a case could be made for each
  of these, consistency of application is necessary. Upon further
  consideration, we have determined that price is not the best denominator
  since it both varies from sale to sale, and may be affected by dumping.
  Because variable manufacturing costs change as a share of total
  manufacturing costs from product to product, the size of a 20% difference
  would consequently vary as well in relation to both the price and total
  manufacturing costs. Therefore, a more stable basis for the denominator
  is the total manufacturing costs, and it has been chosen for uniform use.

  The 20% guideline is just that, a guideline and not an inflexible rule.
  There may be instances in which comparisons may be reasonable even if
  the diffmer is in excess of 20% of the cost of manufacture of the U.S. model.
  For instance, if there are very small fixed cost differences, such as when
  the physical difference is a subcontracted operation or outside purchase,
  the potential for distortion in the quantification is less. Also, if the
  comparisons with greater than 20% diffmer adjustments are only a small
  portion of the total comparisons, the possible impact of the over 20%
  diffmers may be minor in relation to the greater expense to all parties of
  having to develop constructed values. Similarly, the determination that
  reasonable comparability ends at a 20% diffmer is not so precise that one
  can say a diffmer of over 20% means comparability is never achieved.

  The 20% guideline is, however a point of departure in the analysis, and
  cannot be ignored. Any use of comparisons with greater than 20% diffmers
https://enforcement.trade.gov/policy/bull92-2.txt                                                   2/3
3/15/23, 2:51 PM       Case 1:21-cv-00077-SAV Document        63 Filed 04/13/23 Page 32 of 32
                                                https://enforcement.trade.gov/policy/bull92-2.txt

  must be explained. Any relevant special conditions, such as those above,
  should be analyzed, as well as the amount by which the diffmer exceeds
  20%. Unless we can explain how the comparison remains reasonable, or
  distortion is minimized, we should not make comparisons when diffmers
  exceed 20%. Instead, when there is no other similar merchandise, we
  should revert to constructed value, or in the case of an investigation,
  consider whether inclusion of the affected sales is necessary to support
  a final determination.

  Statement of Policy

  Sales of products in domestic or third country markets with variable
  manufacturing cost differences exceeding 20% of the total average cost
  of manufacture, on a model specific basis, of the product exported to
  the United States will normally not be utilized in determining foreign
  market value. Any use of products with the cost of merchandise
  differences exceeding 20% shall be noted and fully explained.

  Implementation

  This policy will be implemented on all future cases and current
  administrative reviews and investigation where the information necessary
  to determine the diffmer and, if necessary to calculate constructed
  value exists and the change can be made without delaying the cases
  beyond their due dates.




https://enforcement.trade.gov/policy/bull92-2.txt                                                   3/3
